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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Marcelino Centeno
                                      Plaintiff,
v.                                                       Case No.: 1:17−cv−05233
                                                         Honorable Sara L. Ellis
LVNV Funding, LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 1, 2019:


       MINUTE entry before the Honorable Sara L. Ellis: Motion for leave to cite
additional authority in support of Defendants' motion for summary judgment [110] is
granted. Ruling date set for 4/4/2019 is stricken and reset for 5/22/2019 at 9:30 AM. No
appearance required, 4/4/2019. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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